Case 8:18-cv-03094-PWG Document1 Filed 10/09/18 Page 1:of 14

 

 

 

 

 

IN THE UNITED STATES DISTRICT COURT == =. ©
FOR THE DISTRICT OF MARYLAND OP PD
a’ AS
Thoms Lowes
VOAIQ Westlake Be Ske WUG | Complaint for a Civil Case
eYWuigdn , d goin
8 i —_ _ Case NP WG 18 CV3094
(Write the ust name of each plaintiff who a futinig (to be filled in by the Clerk’s Office)
this complaint. If the names of all the plaintiffs
cannot fit it the space above, please write | see Jury ‘Trial: Ves CO No
attached” in the space and attach an additional
(check one)

page with the full list of names.)

-against-
FIVRaA
ASod ley Ree Wect Ave
Ro dew Wu" fad Io
(Write the full name of each defendant who is
being sued. If the names of all the defendants

cannot fit in the space above, please write “see
attached” in the space and attach an additional

page with the full list of names.)

 
Case 8:18-cv-03094-PWG Document1 Filed 10/09/18 Page 2 of 14

i. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach
additional pages if needed.

 

 

 

 

 

 

Name ~thomos Lrowes

Street Address 10 31% Wesdlike D- Sk YC
City and County 8 eVhesds, Md aovi?

State and Zip Code Martgeney Coury

Telephone Number SOl- 46l- BSe3

E-mail Address te imu herxse AOL. Con

 

B. The Defendant(s)

Provide the information below for each defendant named in the complaint,
whether the defendant is an individual, a government agency, an organization, or
a corporation. For an individual defendant, include the person’s job or title (if
known). Attach additional pages if needed.

Defendant No. 1

 

 

 

 

 

 

 

Name {= /wR pb

Job or Title OFLin 0Ff Om beds maw

(if known)

Street Address A S5°4F ey Lest Ave

City and County Re lei, 5 Mo tg Unt Covls
State and Zip Code Md oo ¥ XO

Telephone Number 3ut- St4o~ Sov

E-mail Address

(if known)
Case 8:18-cv-03094-PWG Document1 Filed 10/09/18 Page 3 of 14

Defendant No. 2

Name

 

Job or Title

 

(if known)
Street Address

 

City and County

 

State and Zip Code

 

Telephone Number

 

E-mail Address

 

(if known)

Defendant No. 3

Name

 

Job or Title

 

(if known)
Street Address

 

City and County

 

State and Zip Code

 

Telephone Number

 

E-mail Address

 

(if known)

Defendant No. 4

Name

 

Job or Title

 

(if known)
Street Address

 

City and County

 

State and Zip Code

 

Telephone Number

 

E-mail Address

 

(if known)

(If there are more than four defendants, attach an additional page
providing the.same information for each additional defendant.)
Il.

Case 8:18-cv-03094-PWG Document1 Filed 10/09/18 Page 4 of 14

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two
types of cases can be heard in federal court: cases involving a federal question and cases
involving diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising
under the United States Constitution or federal laws or treaties is a federal question case.
Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of another
State or nation and the amount at stake is more than $75,000 is a diversity of citizenship
case. In a diversity of citizenship case, no defendant may be a citizen of the same State
as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)

Federal question () Diversity of citizenship
Fill out the paragraphs in this section that apply to this case.

A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United
States Constitution that are at issue in this case.

s_u sc Wyu-3h)GyVp), F v.s-c 133)
Sisvsc ayslg)(i) «4 Teh)
[S-USC. 184

B. If the Basis for Jurisdiction Is Diversity of Citizenship
l. The Plaintiff(s)
a. If the plaintiff is an individual

The plaintiff, (name) [homes ewer . is acitizen of
the State of (name) Wiew lav

b. If the plaintiff is a corporation

The plaintiff, (name) , is incorporated
under the laws of the State of (name) ;
and has its principal place of business in the State of (name)

 

(If more than one plaintiff is named in the complaint, attach an additional
page providing the same information for each additional plaintiff.)
Case 8:18-cv-03094-PWG Document1 Filed 10/09/18 Page 5 of 14

2. The Defendant(s)

 

a. If the defendant is an individual
The defendant, (name) | , 1s a citizen of
the State of (name) . Orisa citizen of

 

(foreign nation)

 

 

 

b. If the defendant is a corporation
The defendant, (name) FE Inv~RpA me)
incorporated under the laws of the State of (name)
BDel2wrer , and has its principal place of
business in the State of (name) [TWNrvy |r . Oris

 

incorporated under the laws of (foreign nallon)
, and has its principal place of

 

business in (name)

 

(If more than one defendant is named in the complaint, attach an
additional page providing the same information for each additional
defendant.)

3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant
owes or the amount at stake—is more than $75,000, not counting interest
and costs of court, because (explain):

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£23 su .

 

 
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Case 8:18-cv-03094-PWG Document1 Filed 10/09/18 Page 6 of 14

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as
briefly as possible the facts showing that each plaintiff is entitled to the damages or other
relief sought. State how each defendant was involved and what each defendant did that
caused the plaintiff harm or violated the plaintiff's rights, including the dates and places
of that involvement or conduct. If more than one claim is asserted, number each claim
and write a short and plain statement of each claim in a separate paragraph. Attach
additional pages if needed.

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IV.

Case 8:18-cv-03094-PWG Document1 Filed 10/09/18 Page 7 of 14

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to
order. Do not make legal arguments. Include any basis for claiming that the wrongs
alleged are continuing at the present time. Include the amounts of any actual damages
claimed for the acts alleged and the basis for these amounts. Include any punitive or
exemplary damages claimed, the amounts, and the reasons you claim you are entitled to
actual or punitive money damages. For any request for injunctive relief, explain why
monetary damages at a later time would not adequately compensate you for the injuries
you sustained, are sustaining, or will sustain as a result of the events described above, or
why such compensation could not be measured.

Adds

 

 

 

 
Case 8:18-cv-03094-PWG Document1 Filed 10/09/18 Page 8 of 14

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
cost of litigation; (2) is supported by existing law or by a nonfrivolous argument for
extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support
after a reasonable opportunity for further investigation or discovery; and (4) the
complaint otherwise complies with the requirements of Rule 11.

A. For Parties Without an Attorney

] agree to provide the Clerk’s Office with any changes to my address where case-
related papers may be served. I understand that my failure to keep a current
address on file with the Clerk’s Office may result in the dismissal of my case.

Date of signing: ( yk AW 26 DOVS
Signature of Plaintiff ( ~] Aw yh

Printed Name of Plaintiff 7 ~—s J mamag

 

 

(If more than one plaintiff is named in the complaint, attach an additional
certification and signature page for each additional plaintiff.)

B. For Attorneys

Date of signing: , 20

Signature of Attorney

 

Printed Name of Attorney

 

Bar Number

 

Name of Law Firm
Address
Telephone Number
Email Address

 

 

 

 
UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAN be

THOMAS HOWES,

10319 WESTLAKE DR, ST 446

BETHESDA MD. 20817 Case NO: PWG 18 CV3094

FINRA,
D509 KEY AVE
ROCKVILLE,

MD. 20817

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Case 8:18-cv-03094-PWG Document1 Filed 10/09/18 ras 14

GREENBELT DIVISION

Plaintiff,

VS.

 

Defendant

 

 

 

Plaintiff, Thomas Howes, hereby complains and alleges as follows:

1.

[PLEADING TITLE] - 1

MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S PETITION FOR
DECLARATORY RELIEF AND EXPUNGEMENT

Plaintiff, Thomas Howes ( herein after referred to as Plaintiff) is and at all times mentioned
herein was an individual, over the age of majority, residing in the City of Potomac, County
of Montgomery, and State of Maryland. Plaintiff has always enjoyed a very good reputation
in both his personal and professional life, and is well respected in both his local business
community as well as his local community.

Defendant, FINRA (hereinafter referred to as Defendant) upon information and belief, is
now, and at all times mentioned herein was, a regulatory authority, located in the City of
Rockville , County of Montgomery, State of Maryland.

This court is the proper court for trial in this action in that the actions and omissions of
Defendant as alleged herein were made within this Court’s jurisdictional area.

FINRA is reporting false and defamimg information on it’s website
https://brokercheck.finra.org about the Plaintiff.

 

Plaintiff is entitled to have 2 customer complaint’s removed from his record on the Central
Registration Depository(“CRD”). These are also being shown on the Federally approved

 
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[PLEADING TITLE] - 2

Case 8:18-cv-03094-PWG Document1 Filed 10/09/18 Page 10 of 14

securities industry registration form, known as the Uniform Application for Securities
Industry Registration or Transfer( Form U4).

FINRA has a procedure to Expunge false information with a Petition to Expungement.
FINRA Federal procedures are flawed it that they only require member firms to retain
documents and information for 6 years. Plaintiff's complaints are 17 years and 10 years old.

Plaintiff could have easily proven the customer complaints are false with documentation
through discovery. FINRA laws only require retention policies of 6 years. FINRA shouldn’t
keep complaints on the U-4 or broker check for longer than 6 years.

The aforesaid defamatory customer complaints has harmed Plaintiffs reputation. Plaintiff
was denied two of his Petition’s for Expungement. Plaintiff has incurred substainial
expenses and continued damage from Defendant’s false statements. This information is
placed on a public domain with FINRA called Broker Check.

GROUNDS FOR EXPUNGEMENT — FEDERAL QUESTION

FINRA is a private, not-for-profit Delaware corporation and self- regulatory organization
(“ SRO”) registered with the Securities Exchange Commission (“SEC”) as a national

securities association pursuant to the Maloney Act amendment to the Securities Exchange
Act of 1934, 15 U.S.C 78a, et seq ( the Exchange Act’). FINRA is the nation’s only registered
securities association as well as the nation’s largest SRO,

FINRA-DR is a wholly owned by FINRA ande FINRA-DR and operates the largest dispute
resolution forum in the securities industry to assist in the resolution of monetary and
business disputes between and among investors, brokerage firms and individual brokers.

FINRA is mandated by the Exchange Act to regulate the securities market and securities
firms and their registered representatives who buy and sell securities. See 15 U.S.C 780-3..

As an SRO, FINRA is part of the Exchange Act’s highly interrelated and comprehensive
machanism for regulating the securities industry and markets. See. E.g. Desiderio v NASD.
191 F. 3d 198, 201 ( 2d Cir. 1999). FINRA is obligated to comply with the Exchange Act and
it’s own rules. See 15 U.S.C 78s(g)(1) and 78s(h)

The SEC must approve all FINRA rules, policies, practices and interpretations before they

are impplemented. Shearson/ American Express v McMahon, 482 U. S. 220 , 233-34, 107 S.

Ct. 2332( 1987) . The SEC cannot approve a proposed FINRA rule or amendement unless it
is consistent with the Exchange Act and the rules and regulations promulgated thereunder.
See 15 U.S.C 78s(b)

 
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[PLEADING TITLE] - 3

. The Exchange Act requires brokers and dealers to become members of registered securities

Case 8:18-cv-03094-PWG Document1 Filed 10/09/18 Page 11 of 14

FINRA rules are “ part of thew apparatus of federal securities regulations.” Kurz v. Fidelity
Management & Research Co. 556 F 3d 639,641 ( 7" Cir. 2009).

association like FINRA, or one of the national stock exchanges. See 15 U. 8S. C. 780 (b)(1)(B)

The Exchange Act requires FINRA to “ establish and maintain a system for collecting and
retaining registration information “ regarding registtered representatives.” 15 U.S.C 780-

3(I)()(A).

FINRA’s aribration process is suppose to follow the guidelines of the Federal Arbitration
Act. (FAA)

FINRA Office of Dispute Resolution Arbitrator’s Guide references “ Discovery is the
exchange of documents and information that the parties undertake to prepare for the hearing on
the merits. FINRA requires parties to cooperate to the fullest extent practicable in the exchange of|
documents and information to expedite the arbitration. The Codes provide procedures for
discovery requests and outline the arbitrators’ authority in the discovery process. “ FINRA also
has a Discovery Guide” FINRA provides the Discovery Guide, which documents that the
parties should exchange without arbitrator or staff intervention. The Discovery Guide contains
two Document Production Lists (Lists) of presumptively discoverable documents: one for
firms/associated persons to produce and one for customers to produce. Though the Discovery
Guide is not intended for use in simplified arbitration proceedings under FINRA Rule 12800, the
arbitrators may, in their discretion, choose to use relevant portions of the Discovery Guide in a
manner consistent with the expedited nature of simplified proceedings. The Discovery Guide,
including the Lists, serves as a guide for the parties and the arbitrators. While the parties and
arbitrators should consider the documents described in the Lists presumptively discoverable, the
parties and arbitrators retain their flexibility in the discovery process. Arbitrators can: order the
production of documents not provided on the Lists; order that the parties do not have to produce
certain documents on the Lists in a particular case; and alter the production schedule described in
the 12500 series of rules. Where additional documents are relevant in a particular case, parties can
seek them in accordance with the time frames provided in the Code. Nothing in the Discovery
Guide precludes the parties from voluntarily agreeing to an exchange of documents in a manner
different from that set forth in the Discovery Guide. FINRA encourages the parties to agree to the
voluntary exchange of documents and to stipulate to various matters.

Plaintiff can not enforce production of documents through the Chairperson, if FINRA and
the SEC don’t require member firms to retain documents for more than 6 years. See Exhibit
A. This is amazing in an age of cloud storage.

Pursuant to the Exchange Act, FINRA has established standards for the uniform licensing
and registration of securities profesionals- including registered representatives like Plaintiff.
See U.S. C. 780-3 (b)(3) and 780-3(g)(3). The SEC has approved a form used in registering

 
 

 

Case 8:18-cv-03094-PWG Document1 Filed 10/09/18 Page 12 of 14

securities industry representatives like Plaintiff- the Form U-4. See, e.g. SEC Release No. 34-
11424, 1975 SEC Lexis 1592( May 16t, 1975); SEC Release No. 34-17383, SEC Release No.
34-13678 and 1977 SEC Lexis 1409

21. As a condition of registration with FINRA, Plaintiff necessarily executed a Form U4 which

22.

23.

24.

25.

contains the following pertinent provisions:
Individual / Applicant’s Acknowledgement and Consent

2. lapply for registration with the jurisdiction and SRO’s indicated in
Section 4 (SRO Registration) and Section 5 ( Jurisdiction Registartion) as may be amended
from time to time and, in consideration of the jurisdictions and SROs receiving and
considering muy application, I submit to the authority of the jurisdictions and SRO’s and
agree to comply with all provisions, condition and covenants of the statutes, constitutions,
certificate of incorporation, by-laws and rules and regulation of the jurisdiction and SRO’s

as they are or may be adapted, or amended from time to time.

As a condition of registration with FINRA, and by signing the Form U-4 Plaintiff agreed to
comply with all FINRA rules. O’Neel v. NASD, Inc 667 F 2d 804,807 (9" Cir. 1982).
Plaintiff ‘s Petition challenges both FINRA’s statutory obligations under the Exchange Act
to maintain customer dispute information and make that information publicly available, as
well as FINRA’s SEC —approved rules for expunging such customer dispute information.
This Petition of Expungement may be removed to this Court by FINRA and FINRA-DR
pursuant to 28 U.S.C 1441 because this is a civil action over which the court has federal
question jurisdiction under 28 U.S.C 1331.

Section 27 of the Exchange Act, 15 U.S.C 78aa, vests federal courts with exclusive
jurisdiction for violations of the Exchange Act or the rules and regulationscreated

thereunder. As set forth above, all of Plaintiffs claims against FINRA and FINRA-DR are

[PLEADING TITLE] - 4

 
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Case 8:18-cv-03094-PWG Document1 Filed 10/09/18 Page 13 of 14

“ founded on {FINRA’s or FINRA-DR’r } conduct” in enforcing its regulatory
responsibilities -specifically , FINRA’s obligation under the Exchange Act to enforce its own
rules- “ the proprietyof whuch must be exclusively determined by federal law” Sparta
Surgical Corp v Nat’! Ass’n of Secs. Dealers, Inc, 159 F 3d 1209, 12121 ( 9" Cir. 1998):
Sacks v Dietrich, 663 F . 3d 1065

26. Plaintiff argues that the court should expunge disclosure that were made pursuant
to the FINRA rules, and are maintained pursuant to FINRA rules, and alleges that FINRA

violated theses rules by not allowing a fair arbitration which includes discovery.

CONCLUSION

FINRA is reporting through it’s public website Brokercheck and internal CRD erroneous
information about the Plaintiff. FINRA only offers one solution to disputes and that is
FINRA arbitration. FINRA arbitration is suppose to follow the guidelines of the Federal
Arbitration Act. FINRA states in their own FINRA Aribrator guidelines that Discovery is
an important part of the arbitration process. FINRA members are not forced to produce
discovery for cases older than 6 years old. FINRA is reporting derogatory and erroneous
information without a fair arbitration . Plaintiff respectfully request this court to grant

relief through expungement.

October 10%, 2018

[PLEADING TITLE] - 5

 
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Case 8:18-cv-03094-PWG Document1 Filed 10/09/18 Page 14 of 14

Respectfully submitted,

Ci

Thomas Howes

PO Box 34017
Bethesda, Md. 20827
301-461-3503
tomwhowes@aol.com

[PLEADING TITLE] - 6

 
